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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

 MAURO SERRANO, III, ON BEHALF OF                 §
 HIMSELF AND ALL OTHERS                           §
 SIMILARLY SITUATED,                              §
 Plaintiffs,                                      §
                                                  §
                                                  §
                                                  §        CIVIL ACTION NO. 2:14-cv-00077
                                                  §
 vs.                                              §
                                                  §
 REPUBLIC SERVICES, INC. AND BFI                  §        JURY TRIAL DEMANDED
 WASTE SERVICES OF TEXAS, LP,                     §
 D/B/A REPUBLIC SERVICES OF                       §
 CORPUS CHRISTI AND D/B/A ALLIED                  §
 WASTE SERVICES OF CORPUS                         §
 CHRISTI,                                         §
 Defendants.                                      §

                            PLAINTIFFS’ THIRD AMENDED
                           COLLECTIVE ACTION COMPLAINT 	

TO THE HONORABLE UNITED STATES DISTRICT COURT:

         Plaintiffs Mauro Serrano, III, Jose Baca, Andrew Benavides, Simon Aleman, Luis Flores,

Erasmo Cancino, Albert Ysaguirre, Michael Ruiz, Christopher Sifuentes, Luis Cuevas, and Joe

Dorsey files this Third Amended Collective Action Complaint on Behalf of Themselves and All

Others Similarly Situated (“Plaintiffs”), against Defendant Republic Services, Inc., Defendant

BFI Waste Services of Texas, LP, Defendant Republic Waste Services of Texas, Ltd. and

Defendant Allied Waste Systems, Inc. (hereinafter collectively referred to as “Defendants”

and/or “Republic”) to recover compensation, liquidated damages, attorneys’ fees, and costs,

pursuant to the Fair Labor Standards Act of 1938, as amended (hereinafter “FLSA”). In support

of this action, Plaintiffs would respectfully show:


                                                                                          	
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                                           SUMMARY

       1.      Plaintiffs Mauro Serrano, III, Jose Baca, Andrew Benavides, Simon Aleman, Luis

Flores, Erasmo Cancino, Albert Ysaguirre, Michael Ruiz, Christopher Sifuentes, Luis Cuevas,

and Joe Dorsey (“Plaintiffs”) are or were employed as non-exempt waste disposal drivers at

Defendants’ waste disposal facilities in the State of Texas. Plaintiffs bring this action on behalf

of themselves and on behalf of all other similarly situated non-exempt waste disposal drivers

employed by Defendants (“Class Members”) at any time from March 13, 2011 through the final

disposition of this matter and have timely filed consent forms to join this collective action.

       2.      The FLSA is designed to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency and general well-

being of workers.” 29 U.S.C. § 202(a). To achieve its purposes, the FLSA requires three things.

First, the FLSA requires payment of minimum wages. 29 U.S.C. § 206(a). Second, the FLSA

requires overtime pay for covered employers whose employees work in excess of 40 hours per

workweek. 29 U.S.C. 207(a). And third, the FLSA establishes minimum recordkeeping

requirements for covered employers. 29 U.S.C. § 211(a); 29 U.S.C § 516.2(a)(7).

       3.      Plaintiffs and Class Members contend that Defendants failed to pay overtime in

accordance with the FLSA for at least the three year period preceding the filing of this action and

through the final disposition of this matter. Defendants’ violations are described as follows.

       4.      Defendants violated and continue to violate the FLSA by failing to pay their

waste disposal drivers, including Plaintiffs and Class Members, time and one-half for each hour

worked in excess of 40 hours per workweek. Further, Defendants have improperly calculated

Plaintiffs’ and Class Members’ regular rate resulting in further miscalculation of Plaintiffs’ and




                                                                                               	
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Class Members’ overtime pay. Plaintiffs and Class Members should have received overtime

compensation at a rate not less than one and one-half times their true regular rate.

       5.      After settling Plaintiffs and Class Members’ “meal-period” claims on October 28,

2015, Defendants continued to violate the FLSA by automatically deducting 30-minute meal

periods from Plaintiffs’ and Class Members’ daily hours worked, despite knowing that Plaintiffs

and Class Members routinely worked throughout the designated 30-minute meal period. These

deductions are made from Plaintiffs’ and Class Members’ on-the-clock hours.

                        PARTIES AND PERSONAL JURISDICTION

       6.      Plaintiff Mauro Serrano is an individual residing in Corpus Christi, Nueces

County, Texas.     Plaintiff’s written consent to be a party plaintiff in this action has been

previously filed with the Court. See ECF No. 56-1.

       7.      Plaintiff Jose Baca, a former industrial (roll off) driver was employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-2

       8.      Plaintiff Andrew Benavides, a current industrial (roll off) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF N. 56-3.



                                                                                                	
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       9.      Plaintiff Simon Aleman, a current industrial (roll off) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-4.

       10      Plaintiff Luis Flores, a current industrial (roll off) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-5.

       11      Plaintiff Erasmo Cancino, a current industrial (roll off) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-6.	

       12.     Plaintiff Albert Ysaguirre, a current commercial (front load) driver is employed at

Defendant’s Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action




                                                                                                	
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complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-7

       13.     Plaintiff Michael Ruiz, is a former commercial (front load) and residential driver

who was employed at Defendants’ Corpus Christi and Austin, Texas facilities. With respect to

his job description and duties, this Plaintiff is the same or similarly situated to Plaintiff Mauro

Serrano, III, and all other opt-in Plaintiffs, as it relates to the factual basis and causes of action

made the bases of this collective action complaint. Plaintiff’s written consent to be a party

plaintiff in this action has been previously filed with the Court. See ECF No. 56-8.	

       14.     Plaintiff Christopher Sifuentes, a current commercial (front load) driver is

employed at Defendants’ Corpus Christi facility. With respect to his job description and duties,

this Plaintiff is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in

Plaintiffs, as it relates to the factual bases and causes of action made the basis of this collective

action complaint. Plaintiff’s written consent to be a party plaintiff in this action has been

previously filed with the Court. See ECF No. 56-9	

       15.     Plaintiff Luis Cuevas, a current commercial (front load) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as

it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-10	

       16.     Plaintiff Joe Dorsey, a current commercial (front load) driver is employed at

Defendants’ Corpus Christi facility. With respect to his job description and duties, this Plaintiff

is the same or similarly situated to Plaintiff Mauro Serrano, III, and all other opt-in Plaintiffs, as



                                                                                                	
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it relates to the factual bases and causes of action made the basis of this collective action

complaint. Plaintiff’s written consent to be a party plaintiff in this action has been previously

filed with the Court. See ECF No. 56-11

       17.     The Class Members are all of Defendants’ non-exempt current and former waste

disposal drivers in the State of Texas who performed the same or similar work as Plaintiffs and

were subjected to the same or similar payment policies as Plaintiffs during the past three years

and who filed a consent form to join this collective action.

       18.     Defendant Republic Services, Inc. (“Republic”) is a for-profit corporation

incorporated in the State of Delaware. Republic’s principal place of business is in Phoenix,

Arizona. Republic’s headquarters are located at 18500 North Allied Way, Phoenix, Arizona

85054. Republic is registered with the Texas Secretary of State’s office to do business in the

State of Texas. Republic is a covered employer under the FLSA and acted as such in relation to

Plaintiffs and Class Members. Republic has been served in this action and has filed an answer.	

       19.     Defendant BFI Waste Services of Texas, LP (“BFI”) is a foreign, for-profit

corporation doing business in the State of Texas. BFI’s principal place of business is in Phoenix,

Arizona. BFI’s headquarters are located at 18500 North Allied Way, Phoenix, Arizona 85054.

BFI is registered with the Texas Secretary of State’s office to do business in the State of Texas.

Republic is the ultimate parent company of BFI. BFI is a covered employer under the FLSA and

acted as such in relation to Plaintiffs and Class Members. BFI has been served in this action and

has filed an answer.	

       20.     Upon information and belief, BFI is a wholly owned subsidiary or affiliate of

Republic.




                                                                                            	
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        21.    Defendant Republic Waste Services of Texas, Ltd. (“RWS”) is a domestic limited

partnership doing business in the State of Texas. RWS’s principal place of business is in

Phoenix, Arizona.     RWS’s headquarters are located at 18500 North Allied Way, Phoenix,

Arizona 85054. RWS is registered with the Texas Secretary of State’s office to do business in

the State of Texas. Counsel for Defendants in this action have agreed to accept service on behalf

of RWS. Therefore, no additional service is necessary at this time.

        22.    Republic is the ultimate parent company of RWS. RWS is a covered employer

under the FLSA and acted as such in relation to Plaintiffs and Class Members.

        23.    Upon information and belief, RWS is a wholly owned subsidiary or affiliate of

Republic.

        24.    Defendant Allied Waste Systems, Inc. (“Allied Waste Systems”) is a for-profit

corporation incorporated in the State of Delaware. Allied Waste System’s principal place of

business is in Phoenix, Arizona. Allied Waste System’s headquarters are located at 18500 North

Allied Way, Phoenix, Arizona 85054.             Allied Waste Systems is registered with the Texas

Secretary of State’s office to do business in the State of Texas. Counsel for Defendants in this

action have agreed to accept service on behalf of Allied Waste Systems.             Therefore, no

additional service is necessary at this time.

        25.    Republic is the ultimate parent company of Allied Waste Systems. Allied Waste

Systems is a covered employer under the FLSA and acted as such in relation to Plaintiffs and

Class Members.

        26.    Upon information and belief, Allied Waste Systems is a wholly owned subsidiary

or affiliate of Republic.




                                                                                            	
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        27.    Defendant Allied Waste Services of Fort Worth, LLC. (“Allied Waste Services”)

is a domestic limited partnership doing business in the State of Texas. Allied Waste Services’

principal place of business is in Phoenix, Arizona. Allied Waste Services’ headquarters are

located at 18500 North Allied Way, Phoenix, Arizona 85054.              Allied Waste Services is

registered with the Texas Secretary of State’s office to do business in the State of Texas.

Counsel for Defendants in this action have agreed to accept service on behalf of Allied Waste

Services. Therefore, no additional service is necessary at this time.

        28.    Republic is the ultimate parent company of Allied Waste Services. Allied Waste

Services is a covered employer under the FLSA and acted as such in relation to Plaintiffs and

Class Members.

        29.    Upon information and belief, Allied Waste Services is a wholly owned subsidiary

or affiliate of Republic.

        30.    This Court has personal jurisdiction over Defendants because Defendants

purposefully availed themselves of the privileges and benefits of conducting business in the State

of Texas and have established minimum contacts sufficient to confer jurisdiction over the

Defendants. The assumption of jurisdiction over Defendants will not offend traditional notions

of fair play and substantial justice. The assumption of jurisdiction over Defendants is consistent

with the constitutional requirements of due process.

        31.    Defendants have had and continue to have continuous and systematic contacts

with the State of Texas sufficient to establish general jurisdiction over Defendants. Specifically,

Defendants have conducted and/or continue to conduct business in the State of Texas by

collecting, transporting and disposing of commercial, industrial and residential waste, employing

workers, and contracting with Texas residents.



                                                                                             	
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         32.   The claims and causes of action asserted in this complaint arise out of or relate to

Defendants’ contacts with Texas residents, thereby conferring specific jurisdiction over

Defendants.

                    SUBJECT MATTER JURISDICTION AND VENUE

         33.   This Court has jurisdiction over the subject matter of this action under 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.

         34.   Venue is proper in the Southern District of Texas because all or a substantial part

of the acts, omissions and events giving rise to this action occurred in the Southern District of

Texas.

                                      FLSA COVERAGE

         35.   At all material times, Defendants have been joint employers within the meaning

of section 203(d) of the FLSA, which is defined to include any person acting directly or indirectly

in the interest of an employer in relation to an employee. 29 U.S.C. § 203(d).

         36.   At all material times, each Defendant has been an enterprise in commerce or in

the production of goods for commerce within the meaning of section 203(s)(l) of the FLSA

because Defendants have had and continue to have employees engaged in commerce. 29 U.S.C.

§ 203(s)(1).

         37.   At all material times, Plaintiffs and Class Members were employees who engaged

in commerce or in the production of goods for commerce as required by sections 206 and 207 of

the FLSA. 29 U.S.C. §§ 206-207.

         38.   At all material times, Defendants have had, and continue to have, an annual gross

business volume in excess of the statutory standard of $500,000.




                                                                                             	
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                                   STATEMENT OF FACTS

a.     Defendants’ Corporate Relationship

       39.     Defendants provide waste collection and disposal services to their customers

throughout the State of Texas.

       40.     As it relates to certain allegations advanced in this complaint, an overview of

Defendants’ corporate history and structure is in order.

       41.     Browning-Ferris Industries, Inc., commonly known to the world as BFI, has

operated waste disposal facilities throughout Texas for many years.

       42.     In 1999, Allied Waste Services, Inc. (“Allied Waste”) acquired BFI’s Texas based

waste disposal operations. Allied Waste’s acquisition included BFI’s Corpus Christi facility and

other waste disposal facilities throughout Texas. Following Allied Waste’s acquisition of BFI’s

Texas based facilities, the Corpus Christi facility continued operating under both names, Allied

Waste and BFI.

       43.     Prior to the filing of this action, Republic (including its parent, affiliate or

subsidiary companies) acquired (or organized) numerous other waste disposal companies doing

business throughout the State of Texas. Today, along with Republic, these companies employ

Class Members and conduct waste disposal operations throughout the State of Texas.

       44.     Today, Republic conducts its Texas based waste disposal operation jointly and in

cooperation with Defendants BFI Waste Disposal Services of Texas, LP., Republic Waste

Services of Texas, Ltd., Allied Waste Systems, Inc. and Allied Waste Services of Fort Worth,

LLC.    Each of Defendants’ Texas facilities operates under an assumed name. Defendants’

Corpus Christi facility, for example, operates under the assumed names Republic Services of

Corpus Christi and Allied Waste Services of Corpus Christi. Depending upon the facility



                                                                                           	
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location, both Republic and at least one of the other Defendants named herein are involved in the

day-to-day management and operation of their Texas based waste disposal facilities. The typical

organizational structure for all of Republic’s facilities where waste disposal drivers are employed

include a general manager, an operations manager, and a supervisor over each of the residential,

commercial and industrial divisions.

        45.     Defendant Republic and its affiliate and/or subsidiaries, including Defendants BFI

Waste Disposal Services of Texas, LP., Republic Waste Services of Texas, Ltd. and Allied

Waste Systems, Inc. and Allied Waste Services of Fort Worth, LLC, hold themselves out to the

general public as one company, Republic Services. Republic, during a portion of the relevant

time period, operated in three national geographic regions: East, Central and West.1 Defendants’

regional organization allows Defendants to provide collection, transfer, recycling and landfill

waste services. This regional structure used by Defendants allows Defendants to fully integrate

operations within each region, allowing for a top-down operating strategy.                    This regional

organization also allows Defendants to minimize administrative and personnel costs by

collapsing and consolidating job duties into fewer managerial and administrative positions.

Ultimately, this regional structure, with fewer administration and upper management personnel

allows for a more streamlined managerial decision-making.                 Upon information and belief,

Defendants share employees, have a common management, pool resources, are affiliated and

operate out of the same headquarters and/or regional headquarters. Defendants advertise through

one website, provide the same type of service to their customers, and share a common business

model. Part of the common business model is the overtime wage violation made the basis of this

complaint. These facts represent a classic example of “corporate fragmentation.”

        																																																													
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           After Plaintiffs filed this lawsuit, Republic changed its corporate structure nationwide. It is now
divided into two regions but this change does not materially change the litigation.

                                                                                                        	
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       46.     Plaintiffs’ and Class Members’ paystubs confirm that Defendants paid (and

continue to pay) their Texas employees using operating accounts held in the names of both

Republic and BFI. See ECF No. 56-12 and 56-13.

       47.     Since their inception, Defendants have had a joint employment relationship with

respect to Plaintiffs and Class Members. Defendants have an interrelation of operations between

the two companies, centralized control of labor relations, common control over business

operations, and a common business purpose to provide their customers with commercial,

industrial and residential waste collection services.

       48.     Defendants provided (and continue to provide) training to Plaintiffs and Class

Members, controlled (or control) the hours to be worked by Plaintiffs and Class Members, and

directed (or direct) the work of Plaintiffs and Class Members. Defendants maintained (or

maintain) communication with Plaintiffs and Class Members and received (or receive) updates as

to the status of their work, and controlled (or control) the work of Plaintiffs and Class Members.

       49.     Personnel from Republic’s home office in Arizona conduct weekly management

meetings by telephone with local managers of Defendants’ Texas facilities, including Republic’s

Corpus Christi facility.

       50.     Personnel from Republic’s home office in Arizona make periodic visits to

Defendants’ Texas facilities to audit each facility’s performance and profitability.

       51.     Defendants operate as a “single enterprise” and are each liable for the FLSA

violations of the other.

       52.     Because Defendants’ operations were unified, and Defendants’ shared (and

continue to share) control over the work of Plaintiffs and Class Members, each Defendant is

directly liable for the violations complained of in this case.



                                                                                              	
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b.        Plaintiffs and Class Members are (and were) Waste Disposal Drivers for Defendants

          53.   Defendants have residential, commercial, and industrial divisions that employ

waste disposal drivers (the industrial division is also known as the “roll off” division; the

commercial division is also known as the “front load” division).

          54.   Defendants’ waste disposal drivers, including Plaintiffs and Class Members, all

collect, transport and dispose of waste.

          55.   Defendants’ waste disposal drivers are all non-exempt employees under the

FLSA.

          56.   Plaintiffs are (or were) all non-exempt waste disposal drivers employed by

Defendants.

          57.   Class Members are (or were) non-exempt waste disposal drivers for Defendants

for the 3-year period preceding the filing of this complaint through the final disposition of this

matter.

          58.   None of the FLSA exemptions relieving a covered employer of the statutory duty

to pay employees overtime at one and one-half times the regular rate of pay apply to Defendants,

Plaintiffs or Class Members.

          59.   Plaintiffs and Class Members are similarly situated with respect to their job

duties, their pay structure and, as set forth below, the policies of Defendants resulting in FLSA

violations.

          c.     Defendants did not (and do not) pay Plaintiffs and Class Members overtime
          in accordance with the FLSA.

          60.   Plaintiffs and Class Members were (and are) required to work overtime hours

when requested by Defendants, and were (and are) subject to potential disciplinary action for

refusing to work overtime. See ECF No. 56-14.


                                                                                             	
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          61.   Plaintiffs and Class Members regularly worked (or work) over forty (40) hours in

a workweek as waste disposal drivers.

          62.   Plaintiffs and Class Members are compensated by Defendants’ Incentive Pay

Plans which include day rates, job rates, and piece rates which are combined with other forms of

compensation (for example, including but not limited to, lift rates, yards pay, box pay, zone pay,

can pay, house pay, helper pay, hourly pay and extra pay).

          63.   Defendants’ Incentive Pay Plans fail to compensate Plaintiffs and Class Members

for all of their “on-the-clock” non-production time. Some examples of non-production time

include landfill waiting time, landfill dumping time, downtime, vehicular mechanical failure,

traffic delays, customer service related issues, customer wait time, customer delay time, route

delays, manifest changes, and DOT inspections.

          64.   Defendants do not compensate Plaintiffs and Class Members for their actual hours

devoted to non-production time. Instead, Defendants base Plaintiffs and Class Members non-

production time on estimates of what Defendants believe the non-production time should be.

Defendants’ practice results in the underpayment of wages and overtime protected by the FLSA.

          65.   Defendants’ calculation of Plaintiffs’ and Class Members’ regular rate of pay

does not comply with the FLSA because it does not include, as part of the calculation of the

regular rate, all compensation owed to Plaintiffs for their “on-the-clock” non-production time.

          66.   The FLSA requires non-exempt employees to be compensated for overtime work

at the mandated overtime rate.

          67.   Plaintiffs and Class Members were (and are) entitled to receive time and one-half

compensation for all hours worked over 40 hours in a workweek pursuant to Defendants’ pay

policy.



                                                                                              	
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       68.    As Defendants’ employees, Plaintiffs and Class Members were subjected to (or

are subject to) the same or substantially similar payment scheme, as described above. See ECF

Nos. 56-15–22.

d.     Continuing Deduction of Meal Periods Post-Settlement

       69.    Defendants have a nationwide policy that requires their employees, including

Plaintiffs and Class Members, to take a 30-minute meal period each and every workday. See

ECF No. 56-24.

       70.    Defendants were (and are) aware that Plaintiffs and Class Members regularly

worked (and work) through their 30-minute meal periods.

       71.    When calculating Plaintiffs’ and Class Members’ hours each pay period,

Defendants deducted (and deduct) 30 minutes from Plaintiffs’ and Class Members’ daily on-the-

clock hours. In other words, for each 5-day workweek, Defendants deducted (and deduct) 2.5

hours from each workweek’s total on-the-clock hours. For a 6-day workweek, Defendants

deducted (and deduct) 3 hours from each workweek total on-the-clock hours.

       72.    Defendants were aware that Plaintiffs and Class members regularly worked (and

work) through the required 30-minute meal period.

       73.    Defendants systematic deduction of the 30-minute meal period from Plaintiffs’

and Class Members’ on-the-clock time resulted (and results) in Plaintiffs and Class Members

working overtime hours for which they were (and are) not compensated.

       74.    Defendants’ systematic deduction of the 30-minute meal period from hours

worked in excess of 40 hours per workweek deprived (and deprive) Plaintiffs and Class

Members of overtime pay in violation of the FLSA.




                                                                                         	
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       75.      Defendants’ corporate policy of deducting a thirty-minute meal period from

Plaintiffs’ each day, even though they know Plaintiffs and Class Members worked through these

lunch breaks, constitutes a continuing violation of the FLSA.2

       76.      Plaintiffs and Class Members were subjected to (and are subject to) the same or

substantially similar policy, practice or scheme of having the 30-minute meal period deducted

from their on-the-clock time, as described above.

                                      CAUSE OF ACTION

       77.      Plaintiffs and Class Members incorporate by reference all paragraphs and

allegations set forth in the statement of facts of the complaint as though fully and completely set

forth herein.

       78.      Defendants have not maintained accurate compensatory time records for Plaintiff

and Class Members as required by the FLSA. 29 U.S.C. § 211(a); 29 U.S.C § 516.2(a)(7). This

practice regularly resulted in miscalculation of Plaintiffs’ and Class Members’ 40 hour

workweek. Specifically, Plaintiffs and Class members routinely worked 40 hours before

Defendants’ time records would show that Plaintiff and Class Members had worked 40 hours in

a given workweek. Consequently, hours worked by Plaintiffs and Class members were often

counted as straight time hours (under 40 hours), when they should have been counted as

overtime hours.

       79.      Defendants have violated and continue to violate the FLSA by failing to maintain

accurate compensatory time records for Plaintiffs and Class Members.

       80.      Defendants have violated and continue to violate the FLSA by denying Plaintiffs
        																																																													
       2
           The parties settled the portion of the case pertaining to Defendants’ automatic meal period
deduction on October 28, 2015. However, Defendants have continued (and continue) to automatically
deduct thirty minutes from Plaintiffs each workday, despite their knowledge that Plaintiffs actually
worked through their lunch breaks on a daily basis.
       	

                                                                                                 	
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and Class Members correct overtime pay for all hours worked over 40 hours per workweek.

       81.     Defendants have violated and continue to violate the FLSA by denying Plaintiffs

and Class Members correct overtime pay by deducting 30-minute meal breaks from their on-the-

clock time regardless of whether Plaintiffs and Class Members worked through the meal period

for all violations that occurred after the date of the settlement agreement between the parties.

       82.     Defendants paid Plaintiffs and Class Members pursuant to a method that does not

comply with the FLSA because it does not compensate Plaintiffs for their “on-the clock” non-

production time, which results in a miscalculation of the regular rate and underpayment of time

and one half overtime pay for each hour worked over 40 hours per workweek.

       83.     Accordingly, Plaintiffs and Class Members bring this cause of action under

section 216(b) of the FLSA, which allows them to recover all unpaid overtime compensation to

which they are entitled, but have not been paid, for the 3-year period preceding the filing of this

complaint. 29 U.S.C. § 216(b).

       84.     As set forth below, Plaintiffs and Class Members contend that Defendants’

conduct in violating the FLSA is willful. Accordingly, Plaintiffs and Class Members seek

recovery of all unpaid overtime compensation to which they are entitled, but have not been paid,

for the three years preceding the filing of this complaint through the final disposition of this

matter. 29 U.S.C. § 216(b).

       85.     Due to the willful nature of Defendants’ conduct, Plaintiffs and Class Members

seek to recover, as liquidated damages, an amount equal to unpaid overtime wages for the 3 year

period preceding the filing of this complaint through the final disposition of this matter—that is,

the same period for which unpaid overtime damages are sought. 29 U.S.C. § 216(b).




                                                                                                	
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                          DEFENDANTS’ CONDUCT IS WILLFUL

         86.   Defendants have willfully disregarded and continue to willfully disregard the

provisions of the FLSA requiring them to pay Plaintiffs and Class Members proper overtime for

for all hours worked. Defendants’ knew that their failure to properly pay overtime to Plaintiffs

and Class Members would cause, did cause, and continues to cause financial injury to Plaintiffs

and Class Members. Defendants’ actions constitute willful violations under the FLSA and were

not made in good faith.

         87.   It is standard policy at all of Defendants’ Texas locations that if Plaintiffs or Class

Members worked over 12 hours in any given workday, they are required to complete a drivers’

Department of Transportation “DOT” log sheet. Plaintiffs and Class Members are required by

Defendants to show rest breaks and meal breaks on their DOT logs when in fact no rest or meal

breaks are taken during the day when they were on-the-clock.

         88.   Defendants’ policy is to require that Plaintiffs and Class Members complete a

daily route sheet that documents each drivers’ actual daily time and all work related activities

performed while on the clock for that day. Defendants require Plaintiffs and Class Members to

turn in their route sheets to the facility dispatcher at the end of every work day. Regardless of

whether Plaintiffs and Class Members took a lunch break on any day, Defendants’ standard

policy requires Plaintiffs and Class Members to show a 30 minute meal break on their route

sheet.

         89.   Further, Republic continued to deduct thirty minutes each day from Plaintiffs on-

the-clock time even after it had settled those claims with Plaintiffs. Republic’s continued (and

continuing violations) of the FLSA are a textbook example of willful conduct.

         90.   Defendants’ policy of arbitrarily deducting 30 minutes per day from Plaintiffs’



                                                                                                 	
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and Class Members’ daily time, is in no way isolated to the Corpus Christi facility. Indeed,

Plaintiff Mike Ruiz was a former waste disposal driver in both the Corpus Christi and Austin,

Texas facilities and has confirmed that meal period deduction was the same in Austin, Texas as it

was/is in Corpus Christi, Texas. Class Members at Defendants’ various facilities throughout the

State of Texas continue to report that after the October 28, 2015 settlement, Defendants

automatic deductions of 30 minute meal periods, regardless of whether the driver takes a meal

break, has not changed.

       91.     Defendants’ corporate recordkeeping policy only permits Defendants’ facilities to

retain 3 to 4 months of Plaintiffs’ and Class Members’ route sheets. Beyond that, route sheets

must be destroyed in accordance with Defendants’ corporate policy.

       92.     Republic is one of the largest waste disposal and recycling companies in the

United States. It is a publicly traded company. Republic is a sophisticated business with the

knowledge and expertise to know that the payment scheme used to compensate their waste

disposal drivers was and continues to be impermissible under the FLSA. BFI, as a wholly owned

subsidiary of Republic, has access to Republic’s resources and knowledge regarding an

employer’s duties and responsibilities toward its employees under the FLSA.

       93.     Given the willful nature of Defendants’ conduct, including the ongoing meal

period deductions since the October 28, 2015 settlement, Plaintiffs and Class Members request

this Court permit recovery for any claims during the three years preceding the filing of this

complaint through the final disposition of this matter, including liquidated damages, from the

filing of this suit. 29 U.S.C. § 255(a).

                      SIMILARITY OF PLAINTIFFS AND CLASS MEMBERS

       94.     With regard to the FLSA violations asserted in this complaint, Plaintiffs’ and



                                                                                            	
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Class Members’ experiences are typical of all drivers in Defendants’ locations throughout the

State of Texas. Plaintiffs and Class Members throughout the State of Texas are subjected to the

same or similar pay schemes created and implemented by Defendants. Plaintiffs and Class

Members throughout the State of Texas are similarly situated in the following respects: (1) job

duties, (2) pay structure, (3) denial of proper overtime wages, and (4) deduction of wages for

meal period time despite working through meal periods.

                                            PRAYER

       95.     For these reasons, Plaintiffs and Class Members respectfully pray that this

Honorable Court enter all such orders that are necessary to accomplish the following:

               a.       all such orders as are necessary, or may become necessary, to protect

       Plaintiffs and Class Members from Defendants’ retaliation for participating in this cause

       of action; and

               b.       all such orders as are necessary, or may become necessary, requiring

       Defendants to correct their calculation of the regular rate and overtime pay and reform

       their recordkeeping practices going forward to accurately account for all hours worked by

       Plaintiffs and Class Members.

       96.     Plaintiffs and Class Members respectfully pray that the Court set this matter for

trial and, upon final hearing, that the Court enter judgment in their favor, awarding the following:

               a.       all amounts owed to Plaintiffs and Class Members for unpaid overtime

       compensation for all hours worked over 40 hours in a workweek at the applicable time-

       and-a-half rate;

               b.       attorneys’ fees and expenses in accordance with the FLSA;

               c.       prejudgment and post-judgment interest;



                                                                                               	
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  d.     costs of court; and

         e.      all such other relief to which they may be entitled, whether it be at law, or

  in equity, general or special.


                                               Respectfully Submitted,

                                               Anderson2X, PLLC

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2017, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court, Southern District of Texas, using the electronic

case filing system of the court. The electronic case filing system sent a “Notice of Electronic

Filing” to the attorneys of record who have consented in writing to accept this Notice as service of

this document by electronic means.



                                                     /s/ Austin W. Anderson
                                                     Austin W. Anderson




                                                                                              	
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